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11   Costco Wholesale Corporation
12                               UNITED STATES DISTRICT COURT

13                            NORTHERN DISTRICT OF CALIFORNIA

14                                     SAN FRANCISCO DIVISION

15

16   IN RE: CATHODE RAY TUBE (CRT)                    Case No. 3:07-cv-05944-SC
     ANTITRUST LITIGATION                             MDL NO. 1917
17
                                                      Individual Case No.: 3:11-CV-06397-SC
18   This Document Relates to:

19          Case No. 3:11-06397-SC                    STIPULATION REGARDING
                                                      BRIEFING SCHEDULE FOR THE
20   COSTCO WHOLESALE CORPORATION,                    PHILIPS DEFENDANTS’ MOTION, IN
                                                      THE ALTERNATIVE TO DISMISSAL,
21                        Plaintiff,                  TO COMPEL ARBITRATION
22                v.

23   HITACHI LTD., et al.,

24                        Defendants.

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     STIPULATION REGARDING BRIEFING SCHEDULE FOR THE PHILIPS DEFENDANTS’ MOTION,
     IN THE ALTERNATIVE TO DISMISSAL, TO COMPEL ARBITRATION
     Case No. 3:07-cv-05944-SC
      Case 4:07-cv-05944-JST Document 1892 Filed 09/05/13 Page 2 of 4



 1          WHEREAS, Costco Wholesale Corporation (“Costco”) filed a Complaint and Jury

 2   Demand on November 14, 2011, in the United States District Court for the Western District of

 3   Washington against Defendants Koninklijke Philips N.V. and Philips Electronics North America

 4   Corporation (collectively the “Philips Defendants”), among others;

 5          WHEREAS, on August 17, 2012, the Philips Defendants filed a motion to dismiss claims

 6   asserted by the Direct Action Plaintiffs (“DAPs”), including Costco, against the Philips

 7   Defendants on the basis that the claims were barred by the statute of limitations;

 8          WHEREAS, on May 2, 2013, Special Master Legge issued a Report and Recommendation

 9   recommending that, among other things, the Court grant the Philips Defendants’ motion and

10   dismiss the DAP claims against them without leave to amend;

11          WHEREAS, on May 9, 2013, the Philips Defendants filed a Notice of Motion and

12   Motion, in the Alternative to Dismissal, to Compel Arbitration of Costco’s claims against the

13   Philips Defendants (the “Motion to Compel”);
14          WHEREAS, on May 21, 2013, the Philips Defendants and Costco entered into a
15   stipulation providing that further briefing on the Motion to Compel would follow the Court’s
16   entry of an Order resolving the motions to adopt and reject Special Master Legge’s Report and
17   Recommendation regarding the Philips Defendants’ motion to dismiss the DAP claims;
18          WHEREAS, on August 21, 2013, the Court denied the Philips Defendants’ motion to
19   dismiss the DAP claims;
20          WHEREAS, pursuant to the parties’ May 21, 2013 stipulation, Costco’s opposition to the
21   Motion to Compel is due on September 20, 2013;
22          WHEREAS, counsel for the Philips Defendants and counsel for Costco have met and
23   conferred and have agreed to an extension of the previously stipulated briefing schedule;
24          NOW, THEREFORE, PURSUANT TO LOCAL RULE 6-1(b) AND SUBJECT TO
25   COURT APPROVAL, THE PHILIPS DEFENDANTS AND COSTCO, BY AND THROUGH
26   THEIR RESPECTIVE COUNSEL OF RECORD, HEREBY STIPULATE AS FOLLOWS:
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     STIPULATION REGARDING BRIEFING SCHEDULE FOR THE PHILIPS DEFENDANTS’ MOTION,
     IN THE ALTERNATIVE TO DISMISSAL, TO COMPEL ARBITRATION
     Case No. 3:07-cv-05944-SC
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 1          1.     The deadline for Costco to file its Opposition to the Philips Defendants’ Motion to

 2   Compel shall be October 21, 2013;

 3          2.     The deadline for the Philips Defendants to file their Reply Brief in support of their

 4   Motion to Compel shall be November 13, 2013;

 5          3.     The Philips Defendants’ Motion to Compel shall be heard on December 6, 2013,

 6   or at such time as the Court deems appropriate.

 7          IT IS SO STIPULATED.

 8   Dated: September 5, 2013                 By: /s/ David J. Burman
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 9                                            Cori G. Moore (admitted pro hac vice)
                                              Eric J. Weiss (admitted pro hac vice)
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21   Dated: September 5, 2013                 By: /s/ Jon V. Swenson
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     STIPULATION REGARDING BRIEFING SCHEDULE FOR THE PHILIPS DEFENDANTS’ MOTION, IN THE
     ALTERNATIVE TO DISMISSAL, TO COMPEL ARBITRATION
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 8                                               Attorneys for Defendants Koninklijke Philips N.V. and
                                                 Philips Electronics North America Corporation
 9

10           Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
11   document has been obtained from each of the above signatories.
12   Dated: September 5, 2013
13

14                                                    By: /s/ David J. Burman
                                                          David J. Burman
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     STIPULATION REGARDING BRIEFING SCHEDULE FOR THE PHILIPS DEFENDANTS’ MOTION, IN THE
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